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Exhibit A
6/29/2020                                    Case 1:20-cv-01710-BAH
                                                Open                               Document
                                                     Technology Fund Mail - Fwd: OTF              13-1 Filed
                                                                                     FY-20 Grant Amendment         06/29/20 Page- Funding
                                                                                                           #002 - FAIN:OT01-20-GO-00001 2 of 5for July, 2020


                                                                                                                                             Lauren Turner <lauren@opentech.fund>



  Fwd: OTF FY-20 Grant Amendment #002 - FAIN:OT01-20-GO-00001 - Funding for July, 2020
  1 message

  Heidi Pilloud <heidi@opentech.fund>                                                                                                                      Mon, Jun 29, 2020 at 1:09 PM
  To: Lauren Turner <lauren@opentech.fund>, Nat Kretchun <nat@opentech.fund>



    Heidi Pilloud
    Chief Financial Officer
    Open Technology Fund
    e: heidi@opentech.fund
    m: +1.202.471.0420




            Begin forwarded message:

            From: Virginia Boateng <vboateng@usagm.gov>
            Subject: FW: OTF FY-20 Grant Amendment #002 - FAIN:OT01-20-GO-00001 - Funding for July, 2020
            Date: June 29, 2020 at 1:07:55 PM EDT
            To: Heidi Pilloud <heidi@opentech.fund>, Nat Kretchun <nat@opentech.fund>
            Cc: Grant Turner <GTurner@usagm.gov>, John Barkhamer <JBarkhamer@usagm.gov>, Thomas Layou <TLayou@usagm.gov>, Lillian Cheng
            <LCheng@usagm.gov>, David Kligerman <dkligerman@usagm.gov>, Marcus Murchison <mmurchison@usagm.gov>

            Good afternoon Heidi,

            Please ﬁnd attached, a revised Amendment #002 to the OTF FY20 Grant Agreement between the USAGM and
            OTF, which provides operational funds for July 1, 2020, as approved in the FY2020 Internet Freedom Spend Plan
            Submission to Congress pursuant to the FY-2020 Appropriations Bill – P.L. 116-94. The Financial Assistance
            Identiﬁcation Number (FAIN) for this Grant Award is OT01-20-GO-00001. At this time, USAGM intends to
            approve the submitted ﬁnancial plan for the period of July 1 - 31, 2020 only in the amount of $1,619,926.

            As a part of this request, can you provide a detailed explanation of the impacts of the transfer of RFA’s contracts
            onto your books? If you anticipate a problem, can you provide a list of payments that are scheduled to be paid
            during the period of July – September, 2020?
https://mail.google.com/mail/u/0?ik=5e9d7aa405&view=pt&search=all&permthid=thread-f%3A1670854049821383821%7Cmsg-f%3A1670854049821383821&simpl=msg-f%3A1670854049821383821&mb=1        1/2
6/29/2020                                    Case 1:20-cv-01710-BAH
                                                Open                               Document
                                                     Technology Fund Mail - Fwd: OTF              13-1 Filed
                                                                                     FY-20 Grant Amendment         06/29/20 Page- Funding
                                                                                                           #002 - FAIN:OT01-20-GO-00001 3 of 5for July, 2020

             Please provide a signed version of this Grant Amendment and your entity’s July 2020 funding request in the
             amount of $1, 619,926 in order to expedite the payment process. We will provide a copy of the bilaterally signed
             version of this agreement and the approved ﬁnancial plan once all necessary signatures have been obtained.

             If you have any questions, please let me know.

             Thanks,
             Virginia

             Virginia C. Boateng
             Budget Analyst
             U.S. Agency for Global Media (USAGM)
             Ofﬁce of the Chief Financial Ofﬁcer
             Budget Division
             (202) 203-4644
             vboateng@usagm.gov




            OTF FY20 Grant Agreement Amdt. 002 - FAIN OT01-20-GO-00001 July 2020 Funding 06 29 20.pdf
            160K




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                                GRANT AGREEMENT
                                   BETWEEN THE
                        U.S. AGENCY FOR GLOBAL MEDIA AND
                              OPEN TECHNOLOGY FUND

                                  FAIN: OT01-20-GO-00001


GRANT FUNDS TABLE

                  FY 2020         Previous                                        Currency
                                                 Current       New Award
                 PROGRAM           Award                                          gain/(loss)
                                                 Award           Total
                   PLAN            Total                                       (Informational)
      Open
    Technology   $19,825,000     $8,777,872     $1,619,926     $10,397,798      Non-Reported
      Fund 1
     Internet
                      N/A         $600,000          $0          $600,000 2      Non-Reported
     Freedom
     TOTAL
                 $19,825,000     $9,377,872     $1,619,926     $10,997,798      Non-Reported
    FUNDING

This Agreement constitutes Amendment number two (002) (the “Amendment”) to the Fiscal Year
(“FY”) 2020 Grant Agreement between the U.S. AGENCY FOR GLOBAL MEDIA (“USAGM”)
and OPEN TECHNOLOGY FUND (“Non-Federal Entity”) signed in January 2020 (the “Grant
Agreement”). USAGM hereby grants an additional amount of $1,619,926 of no-year funds to
OPEN TECHNOLOGY FUND, up to $1,138,441 shall be used to support Internet freedom
projects. The remainder shall be used to fund OTF salaries and operations.

With the additional amounts granted under this agreement, the total amount USAGM has granted
to the NFE for FY 2020 is $10,997,798 of which, $600,000 of the no-year funds are provided by
the Consolidated Appropriations Act of 2019 (Div. F, P.L. 116-6); and, $10,397,798 (up to
$9,231,225 shall be used to support Internet freedom projects. The remainder shall be used to fund
OTF salaries and operations.) of the no-year funds are provided by the Further Consolidated
Appropriations Act, 2020, P.L. 116-94.


Except as otherwise expressly provided herein, the other provisions of the FY 2020 Grant
Agreement shall remain in full force and effect.




1FY 2020 Internet Freedom Spend Plan Submission to Congress dated April 3, 2020 was
approved April 23, 2020.
2$600,000 of the no-year funds were provided by the Consolidated Appropriations Act of 2019
(Div. F, P.L. 116-6).
                                   FY 20 GRANT AGREEMENT | Amendment Number 001 – FAIN: OT01-20-GO-00001
        Case 1:20-cv-01710-BAH Document 13-1 Filed 06/29/20 Page 5 of 5




OPEN TECHNOLOGY FUND                              U.S. AGENCY FOR GLOBAL MEDIA




BY                                                BY
Heidi Pilloud                                     Michael Pack
Treasurer and Chief Financial Officer             Chief Executive Officer



DATE                                              DATE




                                  FY 20 GRANT AGREEMENT | Amendment Number 001 – FAIN: OT01-20-GO-00001
